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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN


 BAD RIVER BAND OF THE LAKE SUPERIOR
 TRIBE OF CHIPPEWA INDIANS OF THE BAD
 RIVER RESERVATION,

                       Plaintiff,
 v.

 ENBRIDGE ENERGY COMPANY, INC., and
 ENBRIDGE ENERGY, L.P.,

                       Defendants.                       Case No. 3:19-cv-00602-wmc

                                                         Judge William M. Conley
                                                         Magistrate Judge Stephen L. Crocker

 ENBRIDGE ENERGY COMPANY, INC., and
 ENBRIDGE ENERGY, L.P.,

                       Counter-Plaintiffs,
 v.

 BAD RIVER BAND OF THE LAKE SUPERIOR
 TRIBE OF CHIPPEWA INDIANS OF THE BAD
 RIVER RESERVATION and NAOMI
 TILLISON,
 in her official capacity,

                       Counter-Defendants.




      PLAINTIFF’S LIST OF EXHIBITS TO BE ADMITTED VIA DEPOSITION DESIGNATION

        In accordance with the Court’s request, plaintiff Bad River Band of the Lake Superior Tribe

of Chippewa Indians submits the following identification of exhibits it intends to move into

evidence with witnesses whose testimony has been offered to the Court in the form of deposition

designations:




                                                 1
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     Witness      Designated     Trial Exhibit No.         Deposition Exhibit No.
                  Deposition
                   Dkt. No.

Kindred, Matt        529       Ex. 335 (objections   Summary Exhibit (Reroute
30(b)(6)                       reserved)             permitting requirements)

                               Ex. 339 (objections   Kindred Deposition Exhibit 3
                               reserved)

                               Ex. 340 (objections   Kindred Deposition Exhibit 4
                               reserved)

                               Ex. 416               Kindred Deposition Exhibit 1

Lloyd, Stephen       530       Ex. 416               Lloyd Deposition Exhibit 20
30(b)(6)

McGuire, Colin       579       Ex. 67                McGuire Deposition Exhibits 1 and
                                                     7

                               Ex. 68                McGuire Deposition Exhibits 3, 4,
                                                     5, 8, 12, and 14

Tetteh-Wayoe,     532, 534     Ex. 448               Tetteh-Wayoe Deposition Exhibit 8
Deb 30(b)(6)

Wetmore, Trent    535, 536     Ex. 450               Wetmore Deposition Exhibit 2
30(b)(6)

Yaremko, Robert      537       Ex. 193               Yaremko Deposition Exhibit 5
30(b)(6)

                               Ex. 194               Yaremko Deposition Exhibit 3

                               Ex. 195               Yaremko Deposition Exhibit 4

                               Ex. 417               Yaremko Deposition Exhibit 1




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Dated: October 25, 2022                 Respectfully submitted,


                                        /s/ Riyaz A. Kanji
Erick Arnold                            Riyaz A. Kanji
BAD RIVER BAND OF THE LAKE SUPERIOR     David A. Giampetroni
TRIBE OF CHIPPEWA INDIANS OF THE BAD    Lucy W. Braun
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            Counsel for the Bad River Band of the Lake Superior
              Tribe of Chippewa Indians and Naomi Tillison,
              Director of the Mashkiiziibii Natural Resources
             Department of the Bad River Band, in her official
                                  capacity




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